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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JEAN LAWNICZAK, Personal                                     Civil Action No.
Representative of the ESTATE                                 2:17-cv-00185
OF JOHN ORLANDO, Deceased

                       Plaintiff,

           v.

ALLEGHENY COUNTY, et al.

                       Defendants.


                          BRIEF SUPPORTING
           COUNTY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       NOW COME Defendants Allegheny County, Orlando Harper, Simon Wainwright,

Marguerite Bonenberger, Andrew Haburjak, and Tricia Corrado. (the “County Defendants”), by

counsel, John A. Bacharach, Assistant Allegheny County Solicitor, and file this Brief Supporting

County Defendants’ Motion for Summary Judgment.

                                              I. Facts

       The facts on which this brief relies are set forth in detail in Defendants’ Concise

Statement of Material Facts filed pursuant to LCvR 56(B)(1). Defendants incorporate that

Concise Statement and its recitation of facts as though set forth completely herein.

                                    II. The Individual Defendants

                                        A. The Relevant Law

                                     1. Prison Suicide Generally

       In general, a plaintiff in a prison-suicide case involving a pretrial detainee has the burden

to prove three elements: (1) the detainee had a vulnerability to suicide; (2) the custodial officers


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knew or should have known of that vulnerability; and (3) those officers acted with reckless or

deliberate indifference to the detainee’s particular vulnerability.     Colburn v. Upper Darby

Township, 946 F.2d 1017, 1023-24 (3d Cir. 1991) (Colburn II). 1

       A particular vulnerability to suicide means there is a strong likelihood, rather than just a

mere possibility, that self-inflicted harm will occur. Woloszyn v. County of Lawrence, 396 F.3d

314, 319-20 (3d Cir. 2005). The “should-have-known” element is not simply a failure to note a

risk that would be perceived through ordinary prudence. Id. Instead, it is something more than a

negligent failure to appreciate the risk of suicide presented by a particular detainee. Id. Along

these lines, the strong likelihood of suicide must be so obvious that a lay person would easily

recognize the necessity for preventative action. Id.

       As to the element of indifference, there can be no reckless or deliberate indifference if the

custodians are merely negligent. Colburn II, 946 F.2d at 1024. That is, for liability to attach,

there must be something more culpable on the part of the custodians than a negligent failure to

protect a vulnerable detainee from suicide. Id. For example, conduct would likely rise to the

level of reckless indifference where custodians take no steps whatsoever to protect a detainee



1        Case law usually characterizes the “indifference” requirement in suicide cases as being
“reckless,” see Colburn II, 946 F.2d at 1023, but other times characterizes it as being “reckless or
deliberate,” see id. at 1024. In this vein, some opinions appear to use the terms “reckless” and
“deliberate” interchangeably. See Ferencz v. Medlock, 2014 WL 3339639, 3 (W.D.Pa., filed July
8, 2014) (defining the element as “reckless indifference” to a detainee who is particularly
vulnerable to suicide and then stating that a plaintiff must establish the defendant acted with
“deliberate indifference” to the inmate’s particular vulnerability to suicide.) Similarly, in a
recent Federal Appendix case, the court articulated the required element as being “reckless
indifference,” but then referred to it as being the “requirement of reckless or deliberate
indifference.” Green v. Coleman, 575 Fed.Appx. 44, 48 (3d Cir. 2014). Other case law indicates
that, in the suicide context, the concepts of “reckless indifference” and “deliberate indifference”
have not been distinguished or precisely defined. Colburn II, 946 F.2d at 1024. Whether reckless
indifference and deliberate indifference are meant to be the same or different standards, a
defendant cannot be held liable in a prison-suicide case unless his culpability is greater than
negligence. Id.
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they know to be suicidal. Colburn v. Upper Darby Township, 838 F.2d 663, 669 (3d Cir. 1988)

(Colburn I). For example, reckless indifference has been found where an inmate told a prison

psychologist that he was contemplating suicide, the psychologist did not place the inmate in a

suicide cell because those cells were full, the psychologist merely counseled the inmate to “be

cool,” and the psychologist then stated that he was getting ready to leave work (on a Friday) and

could not do anything more until Monday. Hinton v. Mark, 544 Fed.Appx. 75, 77 (3d Cir. 2013).

       Courts have also held that deliberate indifference can be found only if prison officials

know of and disregard an excessive risk to an inmate’s health or safety. Farmer v. Brennan, 511

U.S. 825, 837-38, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994). Deliberate indifference is an exacting

standard. Sadelmyer v. Peltzer, 2013 WL 4766517, 4 (W.D.Pa., filed September 4, 2013).

Moreover, the deliberate or reckless indifference required for liability under § 1983 is a

subjective indifference, not merely an objective one. Farmer, 511 U.S. at 837-38; Barkes v. First

Correctional Medical, Inc., 766 F.3d 307, 323 (3d Cir. 2014).

       Keeping in mind that a particular vulnerability to suicide constitutes a serious medical

need, see Colburn II, 946 F.2d at 1023, it is also worth noting that a prison official is not

deliberately indifferent to that need if the official defers to the judgment of medical personnel

about what medical services a detainee requires. Durmer v. O’Carroll, 911 F.2d 64, 67-69 (3d

Cir. 1993). Accordingly, unsuccessful medical decisions, negligence, or even medical

malpractice by a medical provider is insufficient to establish that a prison official was

deliberately indifferent to a detainee’s serious medical need (e.g., a particular vulnerability to

suicide). Id.

       Consistent with the aforesaid concepts, a non-medical prison official is usually justified

in believing that a prisoner is receiving appropriate care if that prisoner is under the care of


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medical experts. Spruill v. Gillis, 372 F.3d 218, 236 (3d Cir. 2004). Prisoner health and safety

are promoted, not hindered, by dividing responsibility for the prisoner among corrections

officers, administrators, and medical personnel. Id. Consequently, a prison official will not be

chargeable with deliberate indifference to a prisoner’s medical needs absent either (1) actual

knowledge that the prisoner is being mistreated/not treated or (2) reason to believe that such is

the case. Id. Reason to believe that a prisoner is not being treated appropriately may arise if the

plaintiff proves the prison officials failed to correct specific, known deficiencies in the provision

of medical care to the inmate population. Barkes, 766 F.3d at 324. As such, deliberate

indifference may be shown by evidence that the officials failed to respond to a known pattern of

injuries that are like the one allegedly suffered by the prisoner. Sample v. Diecks, 885 F.2d 1099,

1118 (3d Cir. 1989). Plainly, the reason that deliberate indifference to a prisoner can be inferred

in such a situation is that the failure to respond to a known pattern of specific, similar injuries

among the general population would effectively expose the individual prisoner to that same type

of harm. Id.

       Finally, courts are not permitted to infer in hindsight, from the act of suicide itself, that

prison officials were recklessly or deliberately indifferent to their obligation to take reasonable

precautions to protect the prisoner’s safety. Freedman v. City of Allentown, 853 F.2d 1111, 1115

(3d Cir. 1988); Ferencz, 2014 WL 3339639 at 3.

                                     2. Supervisory Liability

       While the foregoing three-element test sets forth the general requirements for finding that

a state actor has violated an individual’s rights in the prison-suicide context, there may be

additional considerations if, for example, a plaintiff seeks to establish the liability of a

supervisor. More particularly, courts have identified two general instances in which either the


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conduct of a supervisor-defendant or a particular policy or procedure of that supervisor warrants

a finding of supervisory liability for a constitutional tort. Barkes, 766 F.3d at 316. First,

supervisory liability may attach if the supervisor personally participated in violating the

prisoner’s rights, personally directed others to violate them, or had personal knowledge of and

acquiesced in a subordinate's unconstitutional conduct. Id. Second, liability may attach if the

supervisor, with deliberate indifference to the consequences of a policy or procedure, established

and maintained that policy or procedure which, in turn, directly caused constitutional harm. Id.

       In the second instance—i.e., the policy/procedure context—a plaintiff must prove the

following four elements to establish supervisory liability:

       1.         the supervisor’s policy or procedure in effect at the time of the
                  alleged injury created an unreasonable risk of a constitutional
                  violation;

       2.         the defendant-supervisor was aware that the policy or procedure created the
                  aforesaid unreasonable risk;

       3.         the defendant-supervisor was indifferent to that risk; and

       4.         the constitutional injury was caused by the failure to implement
                  an appropriate supervisory policy or procedure.

Id. at 317-323.

       Once again, there can be no liability without a subjective, deliberate indifference by the

supervisor. Id. at 323. An objective indifference is insufficient. Id.

                                         3. Qualified Immunity

       Qualified immunity may protect government officials, including supervisors, from suit.

Id. at 325-26. More particularly, a government official performing discretionary functions is

generally immune from suit and/or shielded from civil liability if his actions do not violate a

clearly established constitutional right of which a reasonable person would have been aware. Id.


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A qualified immunity analysis usually begins, therefore, with the threshold question of whether

the facts, viewed most favorably to the party asserting the injury, show the official’s conduct

violated a certain right. Curley v. Klem, 298 F.3d 271, 277 (3d Cir. 2002). If the plaintiff cannot

establish that the official’s conduct violated the plaintiff’s constitutional right(s), then no further

inquiry (i.e., an inquiry into whether the right was a clearly established one) is necessary. Id.

       Considering these concerns, the Court has held that qualified immunity protects “all but

the plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S.

335, 341, 106 S.Ct. 1092, 89 L.Ed.2d 271 (1986). To determine whether a given officer falls into

either of those two categories, a court must ask whether it would have been clear to a reasonable

officer that the alleged conduct “was unlawful in the situation he confronted.” Saucier v. Katz,

533 U.S. 194, 202, 121 S. Ct. 2151, 2156 (2001). If so, then the defendant officer must have

been either incompetent or else a knowing violator of the law, and thus not entitled to qualified

immunity. If not, however—i.e., if a reasonable officer might not have known for certain that the

conduct was unlawful—then the officer is immune from liability. Kisela v. Hughes, 138 S. Ct.

1148, 1152 (2018); Ziglar v. Abbasi, 137 S. Ct. 1843, 1867 (2017). Moreover, courts must be

cautious not to treat general statements regarding constitutional law as settled law or to read

decisional law too broadly in deciding “whether a new set of facts is governed by clearly

established law.” Kisela, 138 S. Ct. 1148 (2018).

                                      4. Summary Judgment

       Summary judgment is appropriate if, making all inferences in favor of the non-moving

party, the record reveals that there is no genuine dispute as to any material fact and that the

movant is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(a). Accordingly, summary

judgment should be granted against a plaintiff who fails to adduce facts sufficient to establish the


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necessary elements of the plaintiff’s case, elements on which the plaintiff will bear the burden of

proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S.Ct. 2548 (1986).

       The party seeking summary judgment has the initial burden to identify the lack of

evidence that demonstrates the absence of a genuine issue of material fact. National State Bank

v. Federal Reserve Bank of New York, 979 F.2d 1579, 1582 (3d Cir. 1992). Once the movant

meets this initial burden, the non-moving party must reply with specific facts showing there is a

genuine issue for trial. Matsushita Elec. Ind. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106

S.Ct. 1348, 89 L.Ed.2d 538 (1986). If the non-moving party fails to articulate facts establishing

a genuine trial issue, the court will take the record as presented by the moving party. Id.

Moreover, the court will then grant judgment as a matter of law. Id.

       An issue is genuine only if there is evidence such that a reasonable jury could reach a

verdict for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50, 106

S.Ct. 2505, 91 L.Ed.2d 202 (1986). The essential inquiry, therefore, involves deciding whether

the evidence shows a sufficient disagreement to require submission of the case to the jurors or

whether the matter is so one-sided that one party must prevail as a matter of law. Brown v.

Grabowski, 922 F.2d 1097, 1106, 1110-11 (3d Cir. 1990). If a court, after reviewing the record,

concludes the evidence is colorable but not significantly probative, then the court must grant

summary judgment. Anderson, 477 U.S. at 249-50. Lastly, while evidence used to support a

summary judgment motion must be admissible evidence, it need not be presented in admissible

form during the summary judgment proceedings. See J.F. Feeser, Inc., v. Serv-A-Portion, Inc.,

909 F.2d 1524, 1542 (3d Cir. 1990); Fed.R.Civ.P. 56(c)(2).




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                                         III. Argument

                       A. Corrections Officer Marguerite Bonenberger

       Bonenberger had two points of contact with Orlando, both on March 24, 2016 at or about

10:30 p.m. She was present when the Millvale Police delivered Orlando to the ACJ. CSMF ¶¶

37-40. They informed her, or she heard the Millvale Police say, that Orlando stated that he

wanted to hang himself. Id. She also participated in placing Orlando in the restraint chair and she

heard him make the statements that he would die in the ACJ. Appendix, Exhibit C. There is no

evidence that Bonenberger had any contact with Orlando after the evening of March 24, 2016.

There is no evidence that Bonenberger took any action that could rise to the level of deliberate

indifference. She did not conceal information. Appendix, Exhibit B. She did not have authority

to place Orlando on suicide precaution, and she is not identified as a medical provider. The

evidence is that the last time she saw Orlando he was in the restraint chair-safe from self-harm.

CSMF ¶¶ 7-14.

       Bonenberger’s conduct was not deliberately indifferent. Moreover, the law is far from

clear regarding a corrections officer’s duty when an inmate makes threats that are or can be

interpreted as an intention to injure himself when medical personnel are present and when

additional screening will be conducted by other medical personnel, including mental health

specialists. See, Spruill, supra. Bonenberger is entitled to summary judgment based on qualified

immunity.

                                B. Sergeant Andrew Haburjak

       The facts as to Haburjak are substantially the same as those that pertain to Bonenberger

with some exceptions. Haburjak was a Sergeant and so he had some supervisory role on March


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24, 2016. CSMF ¶ 13. However, there is no evidence that he engaged in any conduct that could

be characterized as deliberately indifferent to Orlando’s risk of suicide on March 24, 2016. He

prepared reports that documented Orlando’s behavior and statements on March 24, 2016.

Exhibit B. These were reviewed by at least some command staff on March 25, 2016. Appendix

Exhibit B, AC-0001.

       After he was in the restraint chair, Habujak placed Orlando in cell H-9, which is directly

in front of the corrections officer’s desk where they could directly observe him. CSMF ¶ 44. This

is where inmates on suicide precaution are placed. Id.       When Orlando was in Haburjak’s

presence he was safe from self-harm in a restraint chair in a cell where he could be directly

observed by officers. CSMF ¶ 57. Orlando’s suicide occurred days later in another part of the jail

and after Orlando had been seen by Nurse Latham, Mental Health Specialist Harrison and twice

by Dr. Stechschulte. CSMF ¶¶ 11,16,18,19,23,26 and 27.

       Haburjak’s conduct was not deliberately indifferent. Moreover, the law is far from clear

regarding a corrections officer’s duty when an inmate makes threats that are or can be interpreted

as an intention to injure himself when medical personnel are present and when additional

screening will be conducted by other medical personnel, including mental health specialists. See,

Spruill, supra. Haburjak is entitled to summary judgment based on qualified immunity.

                            C. Deputy Warden Simon Wainwright

       Simon Wainwright was a deputy warden in 2016. He was not personally involved with

Orlando’s medical care or his classification before March 30, 2018. Wainwright’s only alleged

involvement was that a person who identified himself as Wainwright allegedly had a telephone

conversation with Jean Lawniczak, Orlando’s mother, after his death. Exhibit L, Lawniczak

Depo. Tr. Pp. 37-38. Lawniczak testified that when she asked, “Well how could this [Orlando’s


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death] happen?” ‘Wainwright allegedly replied,’ “... And he said something to the term of, “Well

apparently you know, we wish we had more manpower than what we do.” That’s all I

remember.” Ibid.

       Regardless of whether a manpower shortage existed generally, there is no evidence that

there was a shortage of manpower on Pod 5F on March 29, 2016, or that was a cause of

Orlando’s death. CSMF ¶ 49. More significantly, there is no evidence that Wainwright had the

power to correct any of these alleged deficiencies or that Wainwright was deliberate indifferent

to them.

       Wainwright’s conduct was not deliberately indifferent. Moreover, the law is far from

clear regarding a supervisory officer’s duty when an inmate makes threats that are or can be

interpreted as an intention to injure himself, when medical personnel are present, and when

additional screening will be conducted by other medical personnel, including mental health

specialists. See, Section II (A)(1), supra. Similarly, there is no clear law regarding what are

proper staffing levels in a jail. In this case, there were at least two and possibly three correction

officers on Pod 5C when Orlando committed suicide and there is no evidence that even having

only one officer on duty created an unreasonable risk of suicide. Wainwright is entitled to

summary judgment based on qualified immunity.

                                     D. Tricia Corrado, R.N.

       Tricia Corrado is a Registered Nurse who worked at the ACJ in March 2016. CSMF ¶¶

51-52. She was on duty the night Orlando came into the ACJ. Id. at p. 12. When she first saw

Orlando, he was in the restraint chair. Ibid. Orlando was agitated and said he was under the

influence of drugs. Id. at p. It is not uncommon for inmates to arrive at the ACJ angry, agitated,

combative, on drugs or alcohol, nor is it unusual for new arrivals to speak of self-harm. Exhibit


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J, at pp. 51-58.

        Corrado asked Orlando normal intake questions while he was in the restraint chair. Id. at

pp. 13-14. The inquiry included questions about whether Orlando was contemplating harming

himself. Id. at pp. 10-11. Corrado did not have the ability in intake to recommend an inmate to a

mental health nurse or physician. Id. at pp. 22-23. Later in the process, an inmate sees another

nurse and a mental health specialist who evaluate and provide needed treatment for the inmate.

CSMF ¶¶ 1-34.

        After Orlando was in the restraint chair, he was placed in the cell directly in front of the

correction officers where inmates on suicide prevention are placed. Id. at ¶ 57.     Orlando never

specifically said he was going to kill himself to Corrado and no one told her that he had said that.

CSMF ¶ 58.

        Corrado did not talk to Orlando after he got out of the restraint chair. Id. at ¶ 59.

Another nurse would have would have seen him. Id. at ¶ 59. He was in fact seen by Teresa

Latham, RN and Ruth Harrison a Mental Health Specialist on March 26th. Ibid.

        Corrado’s contact with Orlando was limited to a short period of time while he was in

intake. While he was there, he was safe from self-harm. She also knew that after his arraignment

by the court, he would either be released or he would be seen by other medical personnel,

including a mental health specialist. CSMF ¶¶ 51-64.

        Corrado’s conduct regarding Orlando that night does not approach the conduct that is

required to establish deliberate indifference, which would require her to be virtually certain that

harm would come to Orlando based on her actions or her failure to act.




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                                         E. Orlando Harper

          Plaintiff has sued Orlando Harper individually, Harper having been Warden of the

Allegheny County Jail (“ACJ”) at all times relevant to this matter. CSMF ¶ 66. Once more,

based on numerous allegations in the Amended Complaint, supervisory liability would appear to

be one of Plaintiff’s theories of fault against Harper. Plaintiff has not, however, adduced facts

establishing the elements of that type of liability. For example, the evidence produced during the

discovery process does not demonstrate Harper had personal involvement with Orlando,

personally directed anyone to violate Orlando’s rights, acquiesced in any supposed violation of

Orlando’s rights, knew of any supposed violation of Orlando’s rights, or even knew of Orlando

at all while he was jailed at the ACJ. Additionally, Plaintiff has failed to produce evidence

indicating that Warden Harper established and/or maintained a policy or procedure that created

an unreasonable risk to Orlando’s safety, that Harper was aware of such a risk, that Harper was

subjectively indifferent (recklessly or deliberately) to any risk, and/or that Orlando was harmed

because of an alleged policy-or-procedure failure on Harper’s part. The facts in this case simply

do not demonstrate the elements of supervisory liability that Plaintiff would need to prove at trial

against Harper. See, Barkes v. First Corr. Med., Inc., 766 F.3d 307, 316 (3d Cir. 2014), cert.

granted, judgment rev’d on other grounds sub nom. Barkes, Taylor v. Barkes, 135 S. Ct. 2042

(2015).

          Plaintiff’s additional theory against Harper is alleged liability for conduct satisfying the

general three-element test for suicide cases set forth in Colburn II, 946 F.2d at 1023-24. See

CSMF. at ¶ 80; S.J.Ex. V at ¶¶ 43-49. However, as already discussed supra, the facts adduced

during discovery do not show that Harper had any personal knowledge or reason to know

anything about Orlando or that Harper acted with reckless or indifference toward Orlando.


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                                   Training and Procedures

       The evidence in this case is that when new inmates arrive at the Allegheny County Jail

they are seen by a nurse. CSMF ¶¶ 52-64. If the new inmate is committed to the jail after

arraignment by the court, he is seen by another nurse and a mental health specialist. Id. In

addition, in this case Orlando was seen by a physician on Pod 5F at least twice before he hung

himself. CSMF ¶34. The jail’s policy is that medical providers determine whether an inmate is

suicidal. If that decision is made, suicide precautions are to be taken. CSMF ¶ 70.

       In the absence of facts demonstrating liability on Harper’s part, no reasonable juror could

reach a verdict against Harper and for Plaintiff. Because no reasonable juror could reach a

verdict against Harper, there remains no genuine issue of material fact for trial. See Anderson,

477 U.S. at 249-50 (indicating a genuine issue exists only if a jury could reasonably reach a

verdict for the non-moving party). As there is no genuine issue of fact for trial, there is no

sufficient disagreement to submit the question of Harper’s liability to a jury. Brown, 922 F.2d at

1106, 1110-11. Harper is therefore entitled to summary judgment as a matter of law. Celotex,

477 U.S. at 322; Matsushita, 475 U.S. at 587; Fed.R.Civ.P. 56(a).

       Furthermore, as the evidence does not demonstrate that Harper in any way violated

Orlando’s constitutional rights, Harper is entitled to qualified immunity from suit in his role as

Warden. Curley v Klem, 298 F.3d 271 at 277 (3rd Cir. 2002).



                        IV. Municipal Defendant: Allegheny County

                                      A. The Relevant Law

       A local government unit such as Allegheny County is not subject to civil rights liability

under the theory of respondeat superior. Monell v. Dept. of Soc. Servs. of City New York, 436


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U.S. 658, 690-91, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). However, a government unit can be

subject to liability if the plaintiff proves the government unit had an official policy or custom that

caused a constitutional violation. Id. at 690-91. There must be a direct causal link between the

policy or custom and the constitutional deprivation. City of Canton v. Harris, 489 U.S. 378, 385-

86, 109 S.Ct. 1197, 103 L.Ed.2d 412 (1989). Along these lines, the plaintiff must show that the

government unit, through deliberate conduct, was the moving force behind the claimed injury.

Bd. of County Comm’rs of Bryan County v. Brown, 520 U.S 397, 404, 117 S.Ct. 1382, 137

L.Ed.2d 626 (1997). In short, the plaintiff must prove a constitutionally defective policy or

custom, deliberate indifference, and causation. Id.

       Consequently, in the prison-suicide context, the plaintiff cannot prevail on a policy-or-

custom claim without proving that the government entity, by its policy or custom, was

deliberately indifferent to the inmate’s serious medical needs—i.e., a particular vulnerability to

suicide—and did, in fact, cause the detainee’s injury. City of Canton, 489 U.S. at 385-86;

Colburn II, 946 F.2d at 1027-28.

                                           B. Argument

       Plaintiff seeks to prove that Allegheny County, by policy or custom, failed to provide

Orlando constitutionally adequate protection from the risk of suicide. Primarily, it appears

Plaintiff contends that, because of some County policy or custom, Orlando was not properly

assessed and monitored. Plaintiff contends the County is therefore liable for Orlando’s death.

For the reasons that follow, Plaintiff’s policy-or-custom claim must fail at this summary

judgment stage.

       The facts adduced during discovery do not support the conclusion that there existed a

County policy or custom that denied Orlando access to appropriate medical care (e.g.,


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assessment, treatment, suicide precautions) or that denied him proper monitoring (e.g., housing,

oversight) stoprotect him from the risk of suicide. Indeed, the numerous facts detailed in

Defendants’ Concise Statement of Material Facts demonstrate that the County afforded Orlando

assessment for medical and mental health conditions, including suicide risk, by medical and

mental health professionals from the time he entered the ACJ to a few hours before he was found

hanging in his cell. CSMF ¶¶ 1-65. The ACJ, the County, had in place medical personnel who

saw Orlando repeatedly. Ibid. More specifically, the care and monitoring provided directly by

the ACJ included the following:

       1.      An initial medical examination shortly after an inmate arrived at the jail. CSMF
               ¶¶ 51-64.

       2.      A second examination by a nurse after a court arraignment. CSMF
               ¶¶ 19-22.

       3.      An examination by a mental health specialist. CSMF
               ¶¶ 22-23.

       4.      Detoxification medication. CSMF ¶22.

       5.      Examination by a physician after arriving at the detoxification pod. CSMF
               ¶ 34.


       Moreover, the County—specifically the ACJ—deferred to the judgments made by

medical providers regarding Orlando. See Spruill, 372 F.3d at 236 (indicating non-medical

officials are generally justified in believing a prisoner is receiving appropriate medical care from

medical providers). Plaintiff has not, for example, produced any facts suggesting that the County

knew of any supposed deficiencies, and/or that County personnel failed to correct any system-

wide deficiencies to make the County liable for Orlando’s death. See id. (indicating officials are

not chargeable with deliberate indifference unless they have actual knowledge of mistreatment of

a prisoner or unless they fail to correct known, prison-wide deficiencies that resulted in injuries

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like what the plaintiff suffered). Accordingly, the facts do not support a finding that the County,

by deferring to medical decisions and orders, engaged in any constitutionally defective policy or

custom, effectively exposed Orlando to a suicide risk, was indifferent (deliberately or recklessly)

to Orlando’s need for protection from suicide, or caused his suicide. See id.

       To the extent Plaintiff contends that the care directed by medical personnel officers, and

adhered to by the County, was unsuccessful, Plaintiff’s complaint is more in the nature of a

negligence or medical malpractice claim, not a constitutional tort. See Durmer, 911 F.2d at 68-

69. (holding unsuccessful medical decisions do not establish deliberate indifference).

Additionally, while the County contends the evidence does not even support a claim of

negligence, it is certainly true that the facts do not reasonably support a finding that the County,

through some policy or custom, acted with some subjective deliberate or subjective recklessness

or indifference. That Orlando ultimately chose to kill himself is not a fact sufficient to infer, in

hindsight, that the County was recklessly or deliberately indifferent to him, his serious medical

needs, or any of his rights. Freedman, 853 F.2d at 1115; Ferencz, 2014 WL 3339639 at 3.

       Because the facts adduced during discovery do not demonstrate deliberate or reckless

indifference to Orlando’s needs/rights, a constitutionally defective policy or custom, or

causation, Plaintiff’s policy-or-custom claim must fail. Monell, 436 U.S. at 690-91; City of

Canton, 489 U.S. at 385-86; Colburn II, 946 F.2d at 1027-28. No reasonable jury could find

Defendant Allegheny County liable. Consequently, summary judgment for Allegheny County is

warranted. Anderson, 477 U.S. at 249-50; Brown, 922 F.2d at 1111.




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                                             V. Damages

                                        A. Punitive Damages

        Plaintiff demands, inter alia, punitive damages against the County Defendants.

        While there is a lack of evidence establishing any liability for any type of damages on

Defendants’ parts, Defendants note that punitive damages are not permitted against government

units in actions under 42 U.S.C. § 1983. City of Newport v. Fact Concerts, Inc., 453 U.S. 247,

267-71, 101 S.Ct. 2748, 69 L.Ed.2d 616 (1981).             Accordingly, Defendants seek summary

judgment on Plaintiff’s claim for such damages against the County.

        Because the record contains no evidence that individual Defendants were indifferent to

Orlando’s rights or acted with any reckless or callous disregard thereof, Plaintiff’s claims for

punitive damages against the individual Defendants must likewise be dismissed. Keenan v.

Philadelphia, 983 F.2d 459, 469-70 (3d Cir. 1992) (indicating punitive damages against

individual defendants are appropriate only if the plaintiff proves that the individuals acted with

reckless or callous disregard of, or indifference to, the rights and safety of the plaintiff).

                                           VI. Conclusion

        This case is significantly different than those in which courts have found that the facts

could support a finding of reckless and/or deliberate indifference.

        Because Plaintiffs have not shown facts essential to their cause of action, summary

judgment should be granted for the County Defendants and against Plaintiff on all issues of

liability. Brown, 922 F.2d at 1106, 1110-11. Defendants thus request summary judgment.

Celotex, 477 U.S. at 322-23; Anderson, 477 U.S. at 249-50; Matsushita, 475 U.S. at 587;

Fed.R.Civ.P. 56(a). In any event, Plaintiff’s claims for punitive damages and loss of future


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earnings fail as a matter of law even aside from the overall grant of summary judgment.

Anderson, 477 U.S. at 249-50.




                                        Respectfully submitted,

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